Case 23-05204-jrs       Doc 7       Filed 02/12/24 Entered 02/14/24 15:50:57         Desc Main
                                     Document     Page 1 of 4
                                                                                      FILED IN CLERK'S
                                                                                      U.S. BANKRUPTCY OFFICE
                                                                                                       COURT
                                                                                        NORTHERN DISTRICT
                     IN THE UNITED STATES BANKRUPTCY COURT                                  OF GEOFXIA
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                    2024 FEB 12 MI
                                ATLANTA DIVISION                                                   10: 1 9
                                                                                         VANIA S. ALLEN
                                                                                               CLERK
In re:                                                      Chapter 11

THE ALIERA COMPANIES, INC.                                  Case No. 21-11548 (TMH)
d/b/a Aliera Healthcare, Inc., et aL,
                                                     *
                                                            Pending in the United States
                                                            Bankruptcy Court for the District
                                                            of Delaware
                                                     *
                       Debtors.


ALIERA LT, LLC, as Liquidating Trustee of
The Aliera Companies, Inc., et al.,

                       Plaintiff,                            Adversary Proceeding
                                                             No. 23-05204-jrs
V.

JOHN BLENKE, THEORDORE STRICKLAND,
ROGER SEVIGNY ,and JAMES WESTON
QUINTRELL,
                                                     *
                       Defendant.


                      DEFENDANT OUINTRELL'S MOTION TO FILE
                  ANSWER AND AFFIRMATIVE DEFENSES INSTANTER

         James Weston Quintrell files this motion seeking to have his answer and affirmative

defenses ("Answer") filed instanter as though filed on February 7, 2024 as he thought this case

was pending in the same court as the bankruptcy court in Delaware. Accordingly, he filed his

Answer with the Delaware court on February 7, 2024 and was informed that it should have been

filed in this Court. He immediately corrected the pleading and refiled it the next business day

with this Court. A copy of the time stamped Answer filed in Delaware is attached as Exhibit A.
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     Respectfully Submitted this 121h day of February, 2024




                                         James Weston Quintrell
                                         350 Minnehaha Trail
                                         Blue Ridge, Georgia 30513
                                         Tel: (706) 851-5946
                                         westonquintrell@gmail.com

                                         Pro Se Defendant
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                         IN THE UNITED STATES BANKRUPTCY COURT
                                                                                          2 2,11 F-E113   -   I,


                              FOR THE DISTRICT OF DELEWARE                                                CLERK
                                                                                          US 11ANKRUPTCY COURT
                                                                                           ni5TRICI OF DFLAWARF
   In re:                                               •       Chapter 11

   THE ALTERA COMPANIES, INC.                           •       Case No. 21-11548 (TMH)
   dib/a Aliera Healthcare, Inc., et al.,
                                                        •       Pending in the United States
                                                        •       Bankruptcy Court for the District
                                                        •       of Delaware
                           Debtors.


   ALIERA LT, LLC, as Liquidating Trustee of
   The Aliera Companies, Inc., et al.,

                           Plaintiff,                   •       Adversary Proceeding
                                                        •       No. 23-05204-jrs
   V.

   JOHN BLENKE, THEORDORE STRICKLAND,
   ROGER SEVIGNY ,and JAMES WESTON
   QUINTRELL,

                           Defendant,


                        DEFENDANT' ANSWER AND AFFIRMATIVE DEFENSES

            James Weston Quintrell files his answer and affirmative defenses ("Answer") to

   Plaintiffs' Complaint [Dkt. 1], filed in the above-captioned adversary proceeding.

                                              ANSWERS

        1.Denied.

        2. Defendant lacks sufficient knowledge or information to admit or deny what Plaintiffs are

            seeking. Presumably, the Complaint speaks for itself. Admit that any members at issue

            are members of Trinity Healthshare Inc and not Aliera or any organization for which

            Defendant was associated.




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on February 12, 2024, I caused a copy of the foregoing Motion to be

filed with the clerk of court and a copy of the motion will be served on all parties who are

scheduled to receive notice once the clerk's office e-files the document through the Court's ECF

system as follows:




Dennis A. Meloro                                     John D. Elrod
(DE Bar No. 4435)                                    Terminus 200
222 Delaware Avenue, Suite 1600                      3333 Piedmont Rd., NE
Wilmington, Delaware 19801                           Suite 2500
Telephone: (302) 661-7000                            Telephone: (678) 553-2259
Facsimile: (302) 661-7360                            Facsimile: (678) 553-2269
Email: Dennis.Meloro@gtlaw.com                       Email: ElrodJ@gtlaw.com




                                                     James Weston Ouintrell




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